                          Case 4:16-cr-00049-KGB                  Document 543              Filed 10/31/18           Page 1 of 7
AO 245B (Rev. 02/18)     Judgment in a Criminal Case
                         Sheet l
                                                                                                                               FILED
                                                                                                                                   c~m
                                                                                                                       Ens:#-S. DISTRICT
                                                                                                                             RH IM,h.lCI Ai     SAS

                                               UNITED STATES DISTRICT COURT
                                                             Eastern District of Arkansas
                                                                          )
                 UNITED STATES OF AMERICA                                 )
                                     v.                                   )
                                                                          )
                          RODNEY HOLMES                                          Case Number: 4:16-cr-00049-10 KGB
                                                                          )
                                                                          )      USM Number: 30801-009
                                                                          )
                                                                          )       JAMES H. PHILLIPS
                                                                          )      Defendant's Attorney
 THE DEFENDANT:
 liZI pleaded guilty to count(s)          1s

 D pleaded nolo contendere to count(s)
       which was accepted by the court.
 D was found guilty on count(s)
       after a plea ofnot guilty.

 The defendant is adjudicated guilty of these offenses:

 Title & Section                        Nature of Offense                                                               Offense Ended       Count
.-I                                                                                                                                     ~1 ~I
  -21-u-.s-_-c-.§-84_1_(_a-)(-1)---..--C-o-n-sp-i-ra_c_y-to_P_o_s_s_e_ss-w-ith-ln-te_n_t-to_D_i-st-ri_b_ut-e-----~~,-3-/3_1_/2_0_1_6_ _ _    1_s_ _~

      and (b)(1 )(B) and 846          Methamphetamine, a Class B Felony

._ _ _I----''-----------~~--___,l~I~
        The defendant is sentenced as provided in pages 2 through           __7___ of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
 liZI Count(s)      1, 9                D is                         liZf are dismissed on the motion of the United States.
                   -----''-------------
          It is ordered that the defendant must notify the United States attorney for this district within 30 C,ays of any- change ofname, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
 the defenoant must notify the court and United States attorney of material ~tianges in econonnc circumstances.

                                                                             10/18/2018
                                                                            Date of Imposition of Judgment




                                                                             Kristine G. Baker, United States District Judge
                                                                            Name and Title of Judge


                                                                                Od-o~ 3\, 2D\ <i(
                                                                            Date
                        Case 4:16-cr-00049-KGB                 Document 543            Filed 10/31/18         Page 2 of 7
AO 245B (Rev. 02/18) Judgment in Criminal Case
                     Sheet 2 - Imprisonment
                                                                                                                        2_ of
                                                                                                       Judgment -Page _ _       7
 DEFENDANT: RODNEY HOLMES
 CASE NUMBER: 4:16-cr-00049-10 KGB

                                                              IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term.of:
  See Supervised Release Section. The Court imposed 57 months home incarceration with electronic monitoring in lieu of
  imprisonment to be followed by an additional 60 month term of supervised release. To effectuate this sentence, the Court
  states Mr. Holmes is sentenced to imprisonment of time served with a 117 month term of supervised release to follow as
  outlined in this judgment.

     D      The court makes the following recommendations to the Bureau of Prisons:




     D      The defendant is remanded to the custody of the United States Marshal.

     D      The defendant shall surrender to the United States Marshal for this district:

            D   at    _ _ _ _ _ _ _ _ _ D a.m.                   D p.m.       on

            D   as notified by the United States Marshal.

     D      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            D   before 2 p.m. on

            D   as notified by the United States Marshal.

            D   as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
I have executed this judgment as follows:




            Defendant delivered on                                                          to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL



                                                                            By---------------------
                                                                                                 DEPU1Y UNITED STATES MARSHAL
                         Case 4:16-cr-00049-KGB                Document 543             Filed 10/31/18          Page 3 of 7
AO 245B (Rev. 02/18) Judgment in a Criminal Case
                         Sheet 3 -   Supervised Release
                                                                                                            Judgment-Page - ~ - of
DEFENDANT: RODNEY HOLMES
CASE NUMBER: 4:16-cr-00049-10 KGB
                                                           SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
     The Court imposed 57 months of home incarceration with electronic monitoring in lieu of imprisonment to be followed by an
     additional 60 month sentence of supervised release. To effectuate this sentence so that the United States Probation Office
     has guidance from the Court on how to carry this out this sentence, the Court essentially imposes time served with a 117
     month term of supervised release to be supervised by the probation office, with the first 57 months to be served under home
     incarceration and electronic monitoring subject to mandatory, standard, and special conditions and to be followed by an
     additional 60 months of supervised release subject to mandatory, standard, and special conditions.




                                                          MANDATORY CONDITIONS

I.      You must not commit another federal, state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
        imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               D The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (check if applicable)
4.       D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
             restitution. (check if applicable)
5.       l'il' You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
6.       D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
             directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
             reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
7.       D You must participate in an approved program for domestic violence. (check ifapplicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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 AO 245B (Rev. 02/18) Judgment in a Criminal Case
                        Sheet 3A - Supervised Release
                                                                                                 Judgment-Page - - - ' - - - of - - ~ - - -
DEFENDANT: RODNEY HOLMES
CASE NUMBER: 4:16-cr-00049-10 KGB

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
        release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
        frame.
2.      After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
        when you must report to the probation officer, and you must report to the probation officer as instructed.
3.      You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
        court or the probation officer.
4.      You must answer truthfully the questions asked by your probation officer.
5.      You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
        arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If notifying
        the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
        hours of becoming aware of a change or expected change.
6.      You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
        take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.      You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
        doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
        you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
        responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
        days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
        becoming aware of a change or expected change.
8.      You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
        convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
        probation officer.
9.      If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.     You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
        designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
 11.    You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
        first getting the permission of the court.
 12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
        require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
        person and confirm that you have notified the person about the risk.
' 13.   You must follow the instructions of the probation officer related to the conditions of supervision.



 U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                       Date _ _ _ _ _ _ _ _ _ __
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AO 245B (Rev. 02/18) Judgment in a Criminal Case
                     Sheet 3B - Supervised Release
                                                                                             Judgment-Page    5     of       7
DEFENDANT: RODNEY HOLMES
CASE NUMBER: 4:16-cr-00049-10 KGB

                                   ADDITIONAL SUPERVISED RELEASE TERMS
During the 57 month term of home incarceration with electronic monitoring:

The defendant shall abide by all technology requirements.

The defendant shall participate and pay all or part of the costs of the location monitoring program as directed by the Court
and the probation office.

The defendant shall be under the location monitoring technology that is deemed the appropriate technology for this case at
the discretion of the probation officer. This form of location monitoring technology shall be utilized to monitor restrictions on
the defendant's movement in the community as well as other court-imposed restrictions.

The defendant is restricted to his residence at all times except for religious services, medical, substance abuse or mental
health treatment, any necessary attorney visits or court appearances or court-ordered obligations, or other activities as
previously approved by the probation office.

It is the Court's intent that, during the 57 month period of home incarceration with electronic monitoring, very few activities
will be pre-approved by the probation office. This period of incarceration is imposed in lieu of a sentence of imprisonment.

The defendant shall pay the total cost of any damaged or lost location monitoring equipment directly to the vendor as
instructed by the United States Probation Office.

During the 57 month period of home incarceration with electronic monitoring, the defendant shall participate, under the
guidance and supervision of the probation office, in a substance abuse treatment program, which may include drug and
alcohol testing, outpatient counseling, and residential treatment. Further, he must abstain from the use of alcohol
throughout the course of treatment.

He must pay for the costs of treatment at the rate of $1 O per session with the total costs not to exceed $40 per month
based on ability to pay as determined by the probation office. In the event he is financially unable to pay for the costs of
treatment, the co-pay requirement will be waived.

The defendant shall perform 200 hours of community service during the 57 month period of home incarceration with
electronic monitoring under the guidance and supervision of the probation officers.

During the additional 60 month term of supervised release, the defendant shall participate, under the guidance and
supervision of the probation office, in a substance abuse treatment program, which may include drug and alcohol testing,
outpatient counseling, and residential treatment. Further, he shall abstain from the use of alcohol throughout the course of
treatment.

He shall pay for the costs of treatment at the rate of $1 O per session with the total costs not to exceed $40 per month
based on ability to pay as determined by the probation office. In the event, he is unable to pay for the costs of treatment,
the co-pay requirement will be waived.

At any point during the 117 month period, if deemed necessary or appropriate by the probation office, the defendant shall
participate in a mental health program under the guidance and supervision of the probation office.

He shall pay for the costs of treatment at the rate of $10 per session with the total costs not to exceed $40 per month
based on ability to pay as determined by the probation office. In the event, he is unable to pay for the costs of treatment,
the co-pay requirement will be waived.
                       Case 4:16-cr-00049-KGB                       Document 543                Filed 10/31/18       Page 6 of 7
AO 245B (Rev. 02/18)   Judgment in a Criminal Case
                       Sheet S - Criminal Monetary Penalties
                                                                                                          Judgment-Page   --=6-        of        7
 DEFENDANT: RODNEY HOLMES
 CASE NUMBER: 4:16-cr-00049-10 KGB
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                  JVTA Assessment*                  Fine                        Restitution
 TOTALS            $ 100.00                      $ 0.00                             $ 0.00                       $ 0.00



 D    The determination of restitution is deferred until - - - - • An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned P,aYJl!ent, unless s~cified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is patd.

Name of Payee                                                          Total Loss**               Restitution Ordered           Priority or Percentaz=e

._____ _ _ _- ~_ ___.ll~--~11                                                                                                                        7
.._____ _ _ _ _ '--------'II...____ __...__ ____,
____________..._____ ___.II._____ _____.._____ ____.
._____ _ _ _-._____ ___.l~I--~I .._I_ ___
._____ _ _ _____. .____ _____.,____ ____,J                                                                                . _ _ _ I_        __ _ _ ,




..____ _ _ _____..____ _____.II._____                                                                                ____.! .._I_ ____,

TOTALS                               s ______o._oo_                             $
                                                                                    ----------
                                                                                                          0.00


 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D   the interest requirement is waived for the           D    fine   D    restitution.

       D   the interest requirement for the        D     fine       D restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount oflosses are required under Chapters 109A, 110, l IOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 24S8 (Rev. 02/18) Judgment in a Criminal Case
                     Sheet 6 - Schedule of Payments
                                                                                                         Judgment- Page       7      of       7
DEFENDANT: RODNEY HOLMES
CASE NUMBER: 4:16-cr-00049-10 KGB


                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ill    Lump sum payment of$ _1_0_0_.0_0____ due immediately, balance due

             D    not later than _ _ _ _ _ _ _ _ _ , or
             D    in accordance with D C, D D,   D E,or                     D Fbelow;or

B     D      Payment to begin immediately (may be combined with          DC,         D D, or      D F below); or

C     D      Payment in equal _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ _ _ _ over a period of
            _ _ _ _ _ (e.g., months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

D     D      Payment in equal _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ _ _ _ over a period of
            _ _ _ _ _ (e.g., months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E     D      Payment during the term of supervised release will commence within _ _ _ _ (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D      Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal mon~ pena!ties is due during
the period of imprisonment. All criminal mone~ penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) NTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
